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                                UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA

                                    SAN FRANCISCO DIVISION



BRYON JACKSON,                            )         Case No. 3:21-cv-08458-LB
                                          )
   Plaintiff,                             )         [PROPOSED] ORDER GRANTING
                                          )         MOTION IN LIMINE #3 TO EXCLUDE
v.                                        )         ANY EVIDENCE TARGET WITHHELD
                                          )         DURING DISCOVERY
TARGET CORPORATION,                       )
                                          )         Judge:   Hon. Laurel Beeler
   Defendant.                             )
                                          )
_________________________________________ )
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         Having considered Bryon Jackson’s Motion in Limine #3 to Exclude Any Evidence Target

 Withheld During Discovery, and any response by Target Corporation, and good cause appearing, the

 Court hereby GRANTS Bryon Jackson’s motion.



 IT IS SO ORDERED.




 Date: ______, 2024                                    _______________________________________
                                                       Hon. Laurel Beeler
                                                       United States Magistrate Judge




                                                         1                          Case No. 3:21-cv-08458-LB
___________________________________________________________________________________________________________
___________________________________________________________________________________________________________________
                                                                                             PROPOSED ORDER
